Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 1 of 11




                               Exhibit 14

       Declaration of Tom Buck in Support of DIP Financing Motion
         Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 2 of 11




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
In re:                                                      §
                                                            §           Case No. 21-32155 (MI)
BUCKINGHAM SENIOR LIVING                                    §
COMMUNITY, INC.                                             §           Chapter 11
                                                            §
                  Debtor.1                                  §


                       DECLARATION OF TOM BUCK
    IN SUPPORT OF THE DEBTOR’S EMERGENCY MOTION FOR INTERIM AND
        FINAL ORDER (1) AUTHORIZING POST-PETITION FINANCING; (2)
     AUTHORIZING USE OF CASH COLLATERAL; (3) PROVIDING ADEQUATE
     PROTECTION; (4) GRANTING LIENS, SECURITY INTERESTS AND SUPER-
            PRIORITY CLAIMS; (5) MODIFYING AUTOMATIC STAY;
                    AND (6) GRANTING RELATED RELIEF

          Pursuant to 28 U.S.C. § 1746, I, Tom Buck, hereby declare as follows under penalty of

perjury that the following is true and correct to the best of my knowledge, information, and belief:

          1.      I am a Senior Managing Partner at B. Riley Advisory Services (“B. Riley”), a

financial advisory firm that provides restructuring, crisis, and turnaround management services,

which maintains offices at 229 Park Avenue, 21st Floor, New York, NY 10171. For the past

several months, I have been working closely with Buckingham Senior Living Community, Inc.

(“The Buckingham,” or the “Debtor”). Over the course of the engagement, I have worked closely

with the Debtor’s management and board of directors (the “Board”) in connection with this chapter

11 case.

          2.      I submit this declaration (the “Declaration”) in support of the Debtor’s Emergency

Motion for Interim and Final Order (1) Authorizing Post-Petition Financing; (2) Authorizing Use

of Cash Collateral; (3) Providing Adequate Protection; (4) Granting Liens, Security Interests and


1
 The last four digits of the Debtor’s federal tax identification number are: 7872. The location of the Debtor’s principal
place of business and the service address for the Debtor is: 8580 Woodway Drive Houston, Texas 77063.

DECLARATION IN SUPPORT OF FINANCING MOTION                                                                    PAGE 1
       Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 3 of 11




Super-Priority Claims; (5) Modifying Automatic Stay; and (6) Granting Related Relief (the

“Financing Motion”).2

        3.        Except where specifically noted, the statements in this Declaration are based on

(a) my personal knowledge of the Debtor’s operations and finances, (b) my review of the

Financing Motion, (c) the Declaration of Michael Wyse in Support of Voluntary Petition and First

Day Motions (the “First Day Declaration”), (d) information provided to me by B. Riley employees

working under my supervision, (e) information provided to me by, or through discussions with,

the members of the Debtor’s management team, Board, or their other advisors, and (f) my

experience as a restructuring professional.

        4.        As a professional to be retained by the Debtor, B. Riley is charging for services

provided in this matter, but I am not being specifically compensated for this Declaration or

testimony other than through payments received from B. Riley. I am over the age of 18 years and

am authorized to submit this Declaration of behalf of the Debtor. If I were called upon to testify, I

could and would testify competently to the facts set forth herein.

                                                  Qualifications

        5.        B. Riley is a leading restructuring, crisis, and turnaround consulting firm with

extensive experience and an excellent reputation for providing high quality, specialized

management and restructuring advisory services to debtors and distressed companies, in both

chapter 11 proceedings and out-of-court restructurings.




2
  All capitalized terms not expressly defined herein shall have the same meaning as ascribed in the Financing Motion.
For the avoidance of doubt, any description of the DIP Credit Facility herein or in the Financing Motion is qualified
in its entirety by reference to the DIP Documents.

DECLARATION IN SUPPORT OF FINANCING MOTION                                                                 PAGE 2
      Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 4 of 11




       6.      I am a Senior Managing Partner in B. Riley’s Advisory Group, where I have been

employed since 2018. With over twenty (20) years of experience advising distressed businesses,

debtors, and creditors across a wide variety of industries, I have substantial experience in

operational turnarounds, financial restructurings, and interim management of distressed

companies. My restructuring and financial advisory engagements include representations of

debtors and creditors in such cases as: In re Rochester Drug Cooperative, Inc., No. 20-20230

(Bankr. W.D.N.Y. 2020); In re Agera Energy LLC, No. 19-23802 (Bankr. S.D.N.Y. 2019); In re

KidsPeace Corp., Case No. 13-14508 (Bankr. E.D. Pa. May 21, 2013); In re Inverness Village,

19-11510 (Bankr. N.D. Okla. Jul. 22, 2019); In re 1515-GEEnergy Holding Co. LLC, No. 19-

10303 (Bankr. D. Del. 2019); In re Lombard Public Facilities Corporation, No. 17-22517 (Bankr.

N.D. Ill. 2017); In re Pontiac General Hospital and Medical Center, Case No. 08-60731 (Bankr.

E.D. Mich. August, 26, 2008); and In re Saint Michaels Medical Center, Inc., No. 15-24999

(Bankr. D.N.J. 2015). Essentially, I have extensive experience with both in and out of court health

care and tax-exempt bond restructurings.

       7.      I received a Bachelor of Science in Economics from Lehigh University and a

Masters of Business Administration from the Babcock Graduate School of Management at Wake

Forest University. I also hold certifications from the Association of Financial Professionals as a

Certified Treasury Professional (CTP) and from the Association of Insolvency & Restructuring

Advisors as a Certified Insolvency & Restructuring Advisor (CIRA).

       8.      On October 20, 2020, the Board retained B. Riley as its financial advisor to assist

with the Debtor’s evaluation of potential restructuring opportunities and, ultimately, the evaluation

and implementation of the Debtor’s chapter 11 filing. Since that time, I have worked closely with

the Debtor’s management, the Board and other professionals to analyze, among other things, the



DECLARATION IN SUPPORT OF FINANCING MOTION                                                  PAGE 3
      Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 5 of 11




Debtor’s business affairs, assets and liabilities, financial position and contractual arrangements.

During this time, I have become familiar with the Debtor’s capital structure, liquidity and cash

needs, and business operations. I have negotiated with the Trustee’s professionals regarding the

terms of the Debtor-in-Possession financing and the Debtor’s liquidity needs, and have also

participated in numerous meetings with the Debtor’s advisors and the Board.

    The Debtor will Benefit from Access to Cash Collateral and Postpetition Financing

       9.        During the course of this engagement, I and other B. Riley professionals have

engaged in numerous discussions and meetings with the Debtor’s management team and advisors

regarding potential postpetition financing and continued access to cash collateral. I am generally

familiar with the Debtor’s current liquidity and liquidity forecast.

       10.       The Debtor is entering chapter 11 with marginal liquidity and its operating cash

flow, as currently projected, is insufficient to fund ongoing operations and expenses, including

costs associated with this chapter 11 case. The DIP Credit Facility and continued access to Cash

Collateral will provide the Debtor with enough liquidity to pay resident obligations, continue the

operation of their business, pay vendors, satisfy payroll obligations, pay professional fees, and

make any other payments that are essential or appropriate for the continued management and

operation of the Debtor’s business and assets, as the Debtor pursues the consensual plan of

restructuring.

       11.       The Debtor’s prepetition capital structure is fully described in the First Day

Declaration. As set forth therein, substantially all of the Debtor’s assets, including its cash (the

“Cash Collateral”), are subject to prepetition security interests and liens in favor of the Trustee.

       12.       Since being retained, I have assisted the Debtor in evaluating cash flow and

liquidity needs in a chapter 11 scenario to determine the amount of postpetition financing that



DECLARATION IN SUPPORT OF FINANCING MOTION                                                   PAGE 4
       Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 6 of 11




would be required to operate the Debtor’s business and pay administrative costs during a chapter

11 process, including the financing costs of postpetition credit facilities. Based on this analysis,

I, along with the Debtor and its other advisors, have concluded that the Debtor would require

approximately $3.4 million of postpetition financing, and access to Cash Collateral to finance its

continued operations and preserve its going concern value as it seeks approval of the proposed

consensual restructuring. The Debtor and B. Riley continued to update cash forecasts leading up

to the Petition Date, which forecasts take into consideration, among other things, anticipated cash

receipts and disbursements during the projected period, the effect of the chapter 11 filing on

business operations, fees and interest expenses associated with the DIP Credit Facility,

professional fees, and other required operational expenses. The Debtor’s current 15-week budget

is attached to the Interim Order as Exhibit 1 (the “Budget”).3 The Budget reflects the Debtor’s

immediate need for use of Cash Collateral of approximately $1.5 million on an interim basis under

the DIP Credit Facility to fund this chapter 11 case while maintaining an adequate liquidity cushion

and providing uninterrupted care to its Residents and an ultimate cash need of $3.40 million in the

aggregate while the Debtor pursues approval of its consensual restructuring plan (as further

discussed below).

         13.      As part of exploring its restructuring opportunities, the Debtor and its advisors

engaged in extensive negotiations with the Trustee and their professionals (on behalf of the

Bondholders), who agreed to provide the Debtor with postpetition financing on favorable and

competitive terms. Negotiations between the Debtor, the DIP Lender, and their respective advisors



3
  I believe that the Budget establishes that the Debtor will have adequate liquidity during this period if allowed to
access the Cash Collateral and the DIP Credit Facility. The Budget contains line items for each category of cash flows
anticipated to be received or disbursed during the time period for which the Budget is prepared. I believe that the
Budget includes all reasonable, necessary, and foreseeable expenses to be incurred in connection with the operation
of the Debtor’s business for the period set forth in the Budget.

DECLARATION IN SUPPORT OF FINANCING MOTION                                                                 PAGE 5
      Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 7 of 11




were hard-fought and extensive. Over the weeks leading up to the Petition Date, the Debtor and

the DIP Lender exchanged several drafts of the credit agreements and proposed bankruptcy court

orders, reflecting the negotiation of terms relating to, among other things, the amount and structure

of the postpetition financing; the maturity date; the timing of the process milestones; ; and the

interest, fees, and expenses to be paid under the DIP Credit Facility.

       14.     The negotiations between the Debtor and the DIP Lender ultimately resulted in the

Debtor obtaining competitive economic terms that are reasonable under the circumstances.

Through the DIP Credit Facility, the Debtor will obtain a superpriority, priming, senior secured

term loan credit facility, subject to entry of a final order, in an aggregate principal amount not to

exceed $3.4 million consisting of a $1.5 Interim DIP Loan and an additional $1.9 million Final

DIP Loan. I believe the economics of the postpetition financing are below market when taking

into account the overall terms including the interest rate, that there are no commitment or exit

fees, and that no interest is due until the Maturity Date.

       15.      The DIP Credit Facility will provide the Debtor with necessary liquidity and

immediate use of cash collateral on a consensual basis. The Debtor’s access to the DIP Credit

Facility will enable the Debtor to preserve more value as a going concern by providing access to

necessary liquidity under terms that allow for the prospect of completing an expeditious and

comprehensive reorganization for the benefit of all parties. Accordingly, I believe that the DIP

Credit Facility provides a more attractive postpetition financing proposal than any alternative

available to the Debtor at this time.

              Immediate Access to Cash Collateral and the DIP Credit Facility
                             will Prevent Irreparable Harm

       16.      I believe that the Debtor’s current projected cash flows, along with access to Cash

Collateral and the Interim DIP Loan, will be sufficient to fund the Debtor’s operations through the


DECLARATION IN SUPPORT OF FINANCING MOTION                                                  PAGE 6
      Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 8 of 11




interim period. I believe the immediate use of Cash Collateral and access to the DIP Credit

Facility, within thirty (30) days, is essential to sustain the Debtor’s business. Specifically, Cash

Collateral and the DIP Credit Facility are needed for the Debtor to (a) continue to operate its

business and generate revenue during this chapter 11 case; (b) fund general expenses, including

salaries of its employees; (c) operate the Cash Management System as described in the Emergency

Motion to (a) Approve Maintenance of Certain Pre-petition Bank Accounts and Cash Management

System; and (b) Continue Use of Existing Checks and Business Forms; (d) satisfy administrative

costs and expenses of the Debtor incurred in this chapter 11 case, and (e) most importantly, provide

continued and uninterrupted care for the Debtor’s Residents. As discussed in more detail below,

I believe that without approval of the Financing Motion, the Debtor and its estate will suffer

immediate and irreparable harm.

       17.      Without use of Cash Collateral and access to the DIP Credit Facility, the Debtor

will be unable to continue to provide care to its Residents or operate its business as a going concern

and thereby preserve and maximize the value of its assets for the benefit of all stakeholders. Any

failure to secure postpetition financing, such as is provided in the Financing Motion, will cause

immediate and irreparable harm to the Debtor, its Residents, and its other stakeholders, and will

diminish the value of the Debtor’s estate.

       18.     First, if the Debtor is unsuccessful in obtaining consent or approval for use of the

Cash Collateral, the Debtor will not have sufficient liquidity to operate its business. Second, the

Debtor’s preexisting cash balances and cash generated from operations are simply not sufficient

to fund business operations and the administration of this case, and a cash infusion is a critical

necessity to the continued operation of the Debtor’s business, the preservation of going concern

value, and the continued services and care to the Residents . If the Debtor is unsuccessful in



DECLARATION IN SUPPORT OF FINANCING MOTION                                                   PAGE 7
      Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 9 of 11




obtaining approval of the DIP Credit Facility, the Debtor currently projects that they will not have

sufficient liquidity to operate its business as soon as the week ending July 9, 2021. As a result,

absent approval of the relief requested in the Financing Motion, the Debtor will face substantial

and irreparable harm.

                     The Terms of the DIP Credit Facility are Reasonable

       19.       Interest and Fees. The terms of the DIP Credit Facility include, among other

things, an interest rate of 5.625%, and require the Debtor to pay the Trustee’s reasonable out-of-

pocket expenses and trustee fees, including the reasonable fees and expenses of the Trustee’s

attorneys and advisors Both the fees and interest that accrue under the DIP Credit Facility are

deferred to the Maturity Date.

       20.      The fees and terms of the DIP Credit Facility were the subject of arm’s length and

good-faith negotiations between the Debtor and the DIP Lender and are integral components of

the overall terms of, and were required as consideration for, the extension of postpetition financing.

I believe that the DIP Lender would not otherwise have consented to the use of their Cash

Collateral nor have been willing to provide the DIP Credit Facility or otherwise extend credit to

the Debtor thereunder without the inclusion of such interest and fees.

       21.      Milestones. The DIP Credit Facility requires that the Debtor proceed through this

chapter 11 case on an agreed upon schedule consistent with the terms of the DIP Credit Facility.

These milestones are part of a larger agreement reached with the holders of a majority in principal

amount outstanding under the Bonds relating to the consensual restructuring of the pre-petition

Bond obligations as well as the payment in full of the pre-petition refund obligations owed to

former residents of the facility. Through this consensual restructuring the Debtor will not only

receive much needed exit financing but will also restructure its pre-petition secured debt consistent



DECLARATION IN SUPPORT OF FINANCING MOTION                                                   PAGE 8
     Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 10 of 11




with future projections along with assuming current Resident contracts and providing for a 100%

payment to the pre-petition “refund queue”. Given the success of these pre-petition negotiations

and the desire to receive Court approval of this proposed restructuring as soon as possible I believe

the milestones are critical component of this case and the DIP Credit Facility.

       22.      I believe that the terms of the DIP Credit Facility are the most favorable terms

currently available to the Debtor.

             The Debtor is Unable to Obtain Unsecured or Junior Secured Credit

       23.      After extensive review of the terms of the DIP Credit Facility and terms of other

debtor in possession loans in recent chapter 11 cases, the Debtor and its advisors determined that

the Debtor would be unable to obtain a feasible proposal for unsecured or junior secured credit.

The DIP Lender was unwilling to provide the DIP Credit Facility on any other terms. Further, I

contacted three (3) other potential lenders to inquire as to whether they would be willing to provide

DIP financing under the current circumstances, and all declined. Accordingly, I believe the

Debtor’s efforts to secure postpetition financing were reasonable and sufficient, and the Debtor

made appropriate and sufficient efforts to confirm that it cannot obtain unsecured or junior secured

postpetition financing.

                          The DIP Credit Facility Should be Approved

       24.      In light of the foregoing, and based on my experience in general and my direct

involvement in the analysis and negotiation of the consensual use of Cash Collateral and the DIP

Credit Facility, I believe that the consensual use of Cash Collateral and the DIP Credit Facility

will allow the Debtor to enjoy the greatest operational flexibility without unnecessary restrictions,

and is in the best interest of the Debtor and its estate. I believe the use of Cash Collateral and the

DIP Credit Facility are the product of arm’s length, good-faith negotiations with the DIP Lender



DECLARATION IN SUPPORT OF FINANCING MOTION                                                   PAGE 9
     Case 21-32155 Document 28-14 Filed in TXSB on 06/28/21 Page 11 of 11




and are on the most favorable terms available, provide continued access to liquidity to fund the

Debtor’s business during this chapter 11 case, and facilitates the Debtor’s goal of maintaining

going concern value while continuing to pursue a comprehensive restructuring transaction.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

       Executed on this 27th day of June, 2021.

                                                            By: /s/ Tom Buck .
                                                            Tom Buck
                                                            Senior Managing Partner
                                                            B. Riley Advisory Services
                                                            229 Park Avenue, 21st Floor
                                                            New York, NY 10171




DECLARATION IN SUPPORT OF FINANCING MOTION                                              PAGE 10
